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                         Exhibit 1
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                    UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                          REGION 4
                                  ATLANTA FEDERAL CENTER
                                    61 FORSYTH STREET, SW
                                 ATLANTA, GEORGIA 30303-3104
                                      May 23, 2022




Secretary Emile D. Hamilton
Florida Department of Environmental Protection
Marjory Stoneman Douglas Building
3900 Commonwealth Boulevard
Tallahassee, Florida 32399

Dear Secretary Hamilton:

Thank you for the revised draft annual report and supplemental information your office provided
regarding the Florida Department of Environmental Protection’s (FDEP) administration of its
Clean Water Act (CWA) section 404 program for the reporting period, December 22, 2020,
through June 30, 2021. The Environmental Protection Agency received the revised draft annual
report on March 23, 2022, and supplemental information (i.e., Appendix 2 of the report) on April
22, 2022, following the EPA’s request for additional information on November 12, 2021, with
respect to the initial draft annual report submitted by FDEP on September 29, 2021. The FDEP’s
submission of the draft annual report and the EPA’s comments, questions, and requests for
additional information provided in this letter are issued pursuant to the program reporting
requirements set forth at 40 C.F.R. § 233.52, as well as described in the Memorandum of
Agreement between our two agencies regarding Florida’s CWA 404 program.

The EPA’s specific comments, questions, and requests for additional information regarding the
annual report are enclosed. In accordance with the requirements set forth in 40 C.F.R. §
233.52(e), FDEP must finalize the annual report, incorporating and/or responding to the EPA’s
comments, and transmit the final report to the EPA within 30 days of receipt of this letter.

In addition to identifying issues and additional information needs related to the annual report,
consistent with our oversight role, the EPA is taking this opportunity to express our concerns
with FDEP’s implementation of its CWA 404 program. This letter identifies those matters
related to FDEP’s CWA 404 program as well as issues related to the annual report. The EPA
requests that FDEP work with us to set a time to discuss these matters at FDEP’s earliest
convenience.

   -   FDEP’s continued use of the vacated Navigable Waters Protection Rule.
       FDEP continues to use the vacated Navigable Waters Protection Rule (NWPR) for
       interpreting waters of the United States in the implementation of its CWA 404 program.
       As outlined in our letters dated December 9, 2021, and January 31, 2022, the CWA and
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    its implementing regulations, as well as Florida’s statute and regulations, require Florida
    to implement its program consistent with the definition of “waters of the United States,”
    which the EPA and the U.S. Army Corps of Engineers (Corps) currently interpret to be
    the pre-2015 Rule regulatory regime following vacatur of the NWPR.

-   FDEP’s Inconsistent Documentation for No Permit Required determinations.
    FDEP’s OCULUS database does not consistently include documentation that supports No
    Permit Required (NPR) determinations made by FDEP. The EPA is also unaware of any
    specific procedures that FDEP uses for making these determinations. FDEP should
    ensure that all previously-issued and all future NPR decisions are fully supported and
    documented in the OCULUS database. The EPA requests that FDEP develop procedures
    for processing and documenting NPR decisions and provide those procedures to EPA
    within 45 days.

-   Inconsistent Documentation of FDEP’s joint coordination with the Corps.
    FDEP’s OCULUS database does not consistently include complete documentation
    regarding FDEP’s coordination with the Corps, pursuant to the joint coordination
    procedures set forth in Section III of the Memorandum of Agreement between FDEP and
    the Corps (FDEP-Corps MOA). For any projects in assumed waters for which FDEP is
    coordinating with the Corps, FDEP should routinely upload to OCULUS the
    documentation of the coordination that was conducted and any final determination.

-   Lack of Documentation of correspondence with other resource agencies.
    FDEP’s OCULUS database also does not appear to include correspondence exchanged
    with other resource agencies for the respective project files regarding measures taken to
    ensure protection of endangered species. For any projects for which such correspondence
    has been issued, FDEP should routinely upload such documents into OCULUS to provide
    the public access to this information to inform its review of proposed projects noticed by
    FDEP.

-   Support on the EPA’s preparation of a Biological Evaluation.
    Pursuant to the Endangered Species Act (ESA), the EPA is in the process of preparing a
    Biological Evaluation regarding Florida’s CWA 404 program and is having discussions
    with the National Marine Fisheries Service to help in that preparation. The EPA
    anticipates that assistance from FDEP will be important in facilitating the completion of
    the ESA consultation.

-   Multi-phase projects and reissuance of permits.
    Florida must ensure that the issuance of public notices for multi-phase projects and the
    scope of review for the reissuance of permits and for all phases of multi-phase projects is
    consistent with federal regulations, including the 404(b)(1) Guidelines.
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   -   Public participation and access to judicial review.
       Florida must ensure its program provides for access to judicial review and the CWA
       requirements for public participation are met.

   -   Issuance of after-the-fact permits
       Florida should not issue an after-the-fact permit for unauthorized discharges prior to
       resolution of any enforcement matters.

With the goal of facilitating coordination, transparency, and oversight, and to identify any
potential resource issues, the EPA would like to discuss with FDEP the inclusion of the
following information as part of Florida’s future annual reporting process pursuant to 40 C.F.R.
§ 233.52:

   -   Quantification of staffing levels, including the total number of FDEP Full Time
       Equivalent (FTE) positions that are implementing the CWA 404 program, a breakdown
       of staffing levels for processing permit applications and conducting compliance and
       enforcement, and staff vacancy rates;

   -   Criteria used by FDEP for determining appropriate staffing levels;

   -   Demonstration of actions taken to protect federally-listed endangered species including a
       quantification of any critical habitat that was removed or reduced and any takings of
       federally-listed species;

   -   Activities associated with internal auditing and training regarding the delineations of
       waters; and

   -   Clarification and demonstration of how FDEP’s CWA 404 program coordinates with
       other federal and federal-state water related planning and review processes to ensure
       consistency with the CWA and other applicable federal programs.

If you have any questions or wish to discuss these matters, please contact me, or have a member
of your staff contact Ms. Jeaneanne M. Gettle, Director of the Water Division at
gettle.jeaneanne@epa.gov or 404-562-8979.

                                                     Sincerely,



                                                     Fred       Thompson
                                                     Acting Deputy Regional Administrator
                                                     Performing the functions and duties of the Regional
                                                     Administrator for this matter.

Enclosure
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The specific comments that follow are organized under the same headings that are included in
the Florida Department of Environmental Protection’s (FDEP) annual report.

Executive Summary

FDEP should remove the footnote that states Florida reserves the right to object to the inclusion
of information that FDEP interprets as exceeding the scope of the information required by
federal law and agreed upon in the Memorandum of Agreement (MOA) between the EPA and
FDEP. While the reported activities may appropriately be limited to the agreed upon timeframe
set forth in the MOA, the annual report should be forward-looking regarding any issues or
problems identified during the reporting period, including any planned improvements or
adjustments to Florida’s CWA 404 program to address such issues or problems. In addition, the
specific program elements of the annual report that are specifically cited in 40 C.F.R. § 233.52
are not an exhaustive list of information that can be provided in the annual report and do not
represent all of the elements of Florida’s approved CWA 404 program. The annual reporting
process provides an opportunity for the EPA and the public to understand all elements of FDEP’s
administration of its CWA 404 program and how FDEP intends to proceed with its program
implementation beyond the reporting period. Further, the EPA in its oversight capacity may
request additional information at any time during FDEP’s administration of the CWA 404
Program.

Public Participation

The draft annual report did not include some of the information previously requested by the EPA
via email correspondence dated October 14, 2021, and by letter dated November 12, 2021. FDEP
must include this information in its final annual report, as follows:

   -   Description of whether the public has raised concerns about the sufficiency of
       information provided in the public notices, and if so, measures FDEP is taking to address
       these concerns; and

   -   Description of whether the project files that FDEP routinely uploads into OCULUS
       include copies of correspondence exchanged between FDEP and other resource agencies
       regarding the protection of federally-listed endangered or threatened species (i.e., the
       Florida Fish and Wildlife Conservation Commission (FWCC), the U.S. Fish and Wildlife
       Service (USFWS), and the National Marine Fisheries Service).

To the extent correspondence exchanged with other resource agencies has not been routinely
uploaded into OCULUS for the respective project files, FDEP should routinely upload such
documents in order to provide the public access to information that can help inform their review
of proposed projects noticed by FDEP.




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An Assessment of the Cumulative Impacts of the State's Permit Program on the Integrity of
the State Regulated Waters

Interpretation of the Definition of “Waters of the United States”

The annual report states that, “Florida is working cooperatively with EPA to navigate the
changing definitional regimes of [waters of the United States (WOTUS)] that have arisen after
this reporting period and is committed to administering its assumed CWA 404 program in
accordance with the requirements of the Clean Water Act and regulations promulgated
thereunder.” FDEP is currently using the vacated Navigable Waters Protection Rule (NWPR) to
interpret the definition of WOTUS in its administration of the CWA 404 program, which is
inconsistent with the requirements of the CWA. The CWA and its implementing regulations, as
well as Florida’s statute and regulations, require Florida to implement its program consistent
with the definition of WOTUS, which the EPA and the U.S. Army Corps of Engineers (Corps)
interpret to be the pre-2015 Rule regulatory regime following vacatur of the NWPR. FDEP’s
current interpretation of WOTUS creates a situation whereby FDEP’s CWA 404 program is
narrower in scope than contemplated under the CWA. To address this inconsistency with the
CWA, the EPA is objecting to projects proposed by FDEP, requiring permit conditions to ensure
consistency with the CWA, and requiring FDEP and the permit applicants to spend additional
time and resources to address the objections. This leads to inefficiency and confusion,
specifically, potential inconsistencies between federal and state actions, inefficiencies in FDEP’s
program implementation, confusion on the part of the regulated community and the public, and
most importantly, insufficient protections for the quality of the nation’s waters. If the State does
not enforce CWA 404 requirements in waters not covered by NWPR, the lack of enforcement
could lead to suits brought by citizens or potential enforcement by the EPA.

No Permit Required Determinations

The draft annual report did not include some of the information about No Permit Required
(NPR) determinations previously requested by the EPA by email correspondence dated October
21, 2021, and by letter dated November 12, 2021. FDEP must provide additional information
regarding each of the NPR actions presented in Table 1 in the annual report to clarify whether
the NPR action was based on a WOTUS determination 1 or other reasons (e.g., no impacts to
state waters as defined by 62-340, F.A.C.). For NPR actions based on a WOTUS determination,
FDEP should also clarify whether a Certified Wetland Evaluator (CWE) conducted a site visit to
verify the proposed jurisdictional waters. If FDEP needs additional time to provide this
information beyond the 30-day period when the final annual report is due, FDEP may provide
this information under separate cover within 60 days.

EPA staff reviewed the available information in FDEP’s OCULUS database for eleven randomly
selected NPR determinations that were listed in Table 1. Available documentation for the
majority of those project files did not fully demonstrate the basis for the respective
determinations. Specifically, among the projects for which an applicant requested a WOTUS
jurisdictional determination, the majority of those did not include documentation demonstrating

1
 The Navigable Waters Protection Rule was effective during the reporting period for FDEP’s annual report (i.e.,
December 22, 2020 through June 30, 2021).

                                                         2
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that a CWE conducted a site visit to verify the accuracy of the proposed jurisdictional waters.
For one of the projects reviewed, FDEP’s determination that no wetlands were present appeared
to be inconsistent with the applicant’s assessment that wetlands were present without any
explanation of the discrepancy.

FDEP must fully document its basis for issuing NPR decisions and ensure such documentation is
readily available to the EPA and the public. FDEP should ensure that all previously-issued and
all future NPR decisions are fully supported and documented in its OCULUS database.

For any proposed jurisdictional WOTUS determination proposed by an applicant (i.e.,
jurisdictional challenges from an applicant, as characterized by the annual report), a CWE must
conduct a site visit to verify the jurisdiction consistent with the requirements of Florida’s CWA
404 program. FDEP’s CWA 404 program requires that permitting decisions that are based on a
WOTUS determination, including decisions that a permit is not required, are verified by a site
visit conducted by a CWE and consistent with the federal definition of WOTUS.

Compensatory Mitigation for State 404 Permits

FDEP should clarify in the annual report that the Uniform Mitigation Assessment Method
(UMAM) scores presented in the tables in Appendix 1 were verified to reflect a reasonably
accurate accounting of loss and compensation and that the compensation provided for the
permits is adequate to fully mitigate impacts.

Identification of Areas of Particular Concern and/or Interest within the State

FDEP’s annual report states that no areas of particular concern and/or interest were identified
during this reporting period. The EPA received correspondence from multiple third parties
during the reporting period regarding proposed oil drilling in the vicinity of Big Cypress
National Preserve, and we understand that FDEP also received communication from at least
some of these third parties. FDEP’s final annual report should include this item and any other
items raised by the EPA, other federal entities, the regulated community and/or the public during
the reporting period.

FDEP’s annual report also references coordination with the Corps regarding the use of the
Retained Waters List GIS Layer. Based on the EPA’s review of the information in OCULUS for
permitting decisions made by FDEP during the reporting period, we have not seen
documentation of the coordination with the Corps regarding permitting decisions made in
assumed waters that are in proximity to waters retained by the Corps. For any projects in
assumed waters for which FDEP is coordinating with the Corps, pursuant to the joint
coordination procedures set forth in Section III of the Memorandum of Agreement between
FDEP and the Corps, FDEP should routinely upload to OCULUS the documentation of the
coordination that was conducted and any final determination. FDEP should also update
OCULUS to reflect any actions taken on prior permits.




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An Estimate of Extent of Activities Regulated by General Permits

For future annual reports FDEP should provide additional information about the type of
restoration activities, the type of enhancement activities, and the type of creation activities that
were covered under the general permit for such activities pursuant to 62-331.225.

The Number of Violations Identified and Number and Nature of Enforcement Actions Taken
and The Number of Suspected Unauthorized Activities Reported and Nature of Action Taken

Regarding the statement in this section that “dock complaints were not included because docks
are not typically regulated under the State 404 Program,” FDEP should provide additional
information that clarifies this statement and at a minimum address whether the subject of these
complaints are referencing waters assumed by Florida or retained by the Corps.

FDEP should provide additional information that clarifies whether the “total suspected
unauthorized activities with confirmed violations” from Table 9 represents the total number of
violations during the reporting period.

FDEP should expand the reported information in Table 9 and/or Table 10 to include the
disposition of all suspected violations during the reporting period including:

   -   activities that were determined to be violations, and the nature of the action taken;

   -   activities that were determined to not be violations, and the nature of the action taken;
       and

   -   activities that are still subject to investigation.

FDEP should expand the reported information in Table 10 to include the following additional
categories of potential FDEP responses to violations, regardless of whether the reported number
is zero, to help the public understand all possible responses FDEP may pursue:

   -   Notices of Violation issued;

   -   Short Form Consent Orders;

   -   Long Form Consent Orders;

   -   Settlement Agreements;

   -   Penalties Assessed;

   -   Penalties Collected; and

   -   Post-Enforcement Permits issued.



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Number of Permit Applications Received but not yet Processed

FDEP should characterize whether the reported backlog is anticipated to increase, decrease, or
remain level, and describe whether FDEP has any specific plans or strategies for managing
permit backlog.

Staff Training

FDEP should provide additional details regarding the content of the weekly training webinars
that were conducted during the reporting period.

Historical, Cultural, and Tribal Resources

The draft annual report did not include some of the information previously requested by the EPA
by email correspondence dated October 14, 2021, and by letter dated November 12, 2021. FDEP
should include this information in its final annual report, as follows:

   -   Description of the number of instances where FDEP received specific comments during
       the public comment period on potential effects to historic/cultural resources; and

   -   Description of any recommendations received from the State Historic Preservation
       Officer, the Tribal Historic Preservation Officer, or Indian Tribes during FDEP’s initial
       review of the application.

Listed Species

The draft annual report did not include some of the information previously requested by the EPA
by email correspondence dated October 14, 2021, and by letter dated November 12, 2021.
FDEP’s annual report should explain whether there have been any instances where FDEP and/or
the FWCC were not able to fully implement the provisions of the Memorandum of
Understanding dated August 5, 2020, between FDEP, FWCC and USFWS. To the extent there
have been such instances, please provide the details, any relevant supporting documentation and
any lessons learned. In addition, the annual report should describe the challenges and/or
improvements to coordination procedures that were discussed or addressed during the weekly
meetings conducted by the Endangered and Threatened Species Technical Team.

Other Information

 FDEP should include the following additional information regarding staffing levels during the
reporting period and requests that this information be provided in future annual reports:

   -   The total number of FDEP Full Time Equivalent (FTE) positions that are implementing
       the CWA 404 program including a breakdown of staffing levels for processing permit
       applications and conducting compliance and enforcement; and




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-   The number of staff that received training regarding the requirements of CWA Section
    404(b)(1) Guidelines, delineation of state waters pursuant to 62-340 F.A.C., WOTUS
    determinations, UMAM, or other relevant aspects of the CWA 404 program.




                                           6
